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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

__________________________________________
HANAN RAYYASHI                             )                  CIVIL ACTION
     Plaintiff                             )                  3:10-CV-01594-VLB
                                           )
v.                                         )
                                           )
                                           )
                                           )
ENHANCED RECOVERY COMPANY, LLC             )
     Defendant                             )
__________________________________________ )                  DECEMBER 10, 2010


                      NOTICE OF DISMISSAL WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A(i), the plaintiff, Hanan Rayyashi,

through her attorney, hereby gives notice that the claims of the above-entitled action

shall be dismissed with prejudice, and without costs or attorney’s fees.



                                    PLAINTIFF, HANAN RAYYASHI



                                      By: _/s/Daniel S. Blinn____
                                         Daniel S. Blinn, ct02188
                                         Matthew W. Graeber, ct27545
                                         dblinn@consumerlawgroup.com
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                                     CERTIFICATION

        I hereby certify that on this 10th day of December 2010, a copy of
foregoing Notice of Dismissal was filed electronically and served by mail on
anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.


                                             /s/Daniel S. Blinn
                                             Daniel S. Blinn




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